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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF COLORADO
                              DENVER DIVISION


CARYN SUTHERLAND
                                                Case No. 1:16-cv-00291-KMT
       Plaintiff,
                                                Magistrate Judge:
v.                                              Honorable Kathleen M. Tafoya

STELLAR RECOVERY, INC.
                                                       PLAINTIFF’S NOTICE OF
       Defendant.                                    SATISFACTION OF JUDGMENT


       Now comes Plaintiff, through Counsel, to notify the Court that the Defendant has

Satisfied the Judgment in the present Case.



                                              RESPECTFULLY SUBMITTED,


Date: May 12, 2016                            By: s/ David M. Menditto
                                              David M. Menditto
                                              Hyslip & Taylor, LLC, LPA
                                              1100 W. Cermak Rd., Suite B410
                                              Chicago, IL 60608
                                              Telephone: 312-380-6110
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                                              Attorney for Plaintiff, Caryn Sutherland




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                                CERTIFICATE OF SERVICE

       I hereby certify that on May 12, 2016, I electronically filed the foregoing Notice. Service

of this filing will be made by the Court’s CM/ECF system upon the following:



Alison N. Emery
Assurance Law Group
3731 Hendricks Avenue
Jacksonville, FL 32207
Counsel for Defendant


                                                        /s/ David M. Menditto




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